 Case8:17-cv-01978-JVS-KES
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    3                                               EXHIBIT A
                                          JUDGE JAMES V. SELNA
    4                            PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

    5                                                                    Plaintiff's   Defendant's
                                                                  Weeks Request        Request     Court
    6    Matter                                      Time         before (Insert       (Insert     Order
                                                                   trial specific      specific
    7                                                                    date)         date)
         Trial date (jury) (court)                    8:30 a.m.            8/20/19      8/20/19
    8    Estimated length: _________ days            (Tuesdays)
         [Court trial:] File Findings of Fact and
         Conclusions of Law and Summaries of                       −1      8/12/19      8/12/19
    9    Direct Testimony
         Final Pretrial Conference; Hearing on
    10   Motions in Limine; File Agreed Upon
         Set of Jury Instructions and Verdict
    11   Forms and Joint Statement re Disputed       11:00 a.m.    −2      8/5/ 19      8/5/19
                                                     (Mondays)
         Instructions and Verdict Forms; File
         Proposed Voir Dire Qs and Agreed−to
    12   Statement of Case
         Lodge Pretrial Conf. Order;
    13   File Memo of Contentions of Fact and                                           7/29/19
                                                                   −3      7/29/19
         Law; Exhibit List; Witness List; Status
    14   Report re Settlement
         Last day for hand−serving Motions in                              7/8/19       7/8/19
                                                                   −6
    15   Limine
         Last day for hearing motions                 1:30 p.m.    −7      7/1/19       7/1/19
    16                                               (Mondays)
         Last day for hand−serving motions and                             6/3/19       6/3/19
                                                                   −11
    17   filing (other than Motions in Limine).
                                                                           3/14/19      3/14/19
         Non−expert Discovery cut−off                              −15
    18
    19             ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE
    20    L.R. 16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR

    21
         Expert discovery cut−off                                         5/13/19      5/13/19
    22   Rebuttal Expert Witness Disclosure                               4/1/19       4/1/19

    23   Opening Expert Witness Disclosure [See                           3/18/19      3/18/19
         F.R.Civ.P. 26(a)(2)]
         Last day to conduct Settlement
    24   Conference
         Last day to amend pleadings or add
    25   parties

    26
    27   Revised 4−14−16
    28

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